Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23 USDC Colorado pg1of13

BENNETT, COLORADO, SUMMONS AND COMP” ‘INT ~ SUMMONS B

OR PENALTY ASSESSMENT . .

The Town of Bennett, Counties of Adams and Arapahoe agency: El Adanis EX nose SP. > ther: Benet
By and on behalf of the People of the State of Colorado vs.: Agency Case # CEBAA- 0038 /CE22 -ce¢ AA-CO35 /CE22LZ —Co0)

CO SCHOOL OR SAFETY ZONE (FINES DOUBLED) O ACCIDENT (SUMMONS) O JUVENILE (SUMMONS) Parent Info:

Date of Violation (mm/dd/yy): 4 Time of Violation: Approx. Location of Violation:
WAVE: OC pv ITO Lleol Ge C7
Defendant Name: (Last, First, Middle) yeh A
uy) Ll

DOB: Gender: (M_/ F Race: | Ht ft in Wt Hair: Eyes: Phone H:
tmmiddiy) —! NIG / | 1305 W-F PF B-
Address: Phone C:
OSS [10 Coalidbe Ch Pome CO 60)0R—
DL#: ST | Veh Lic # ST Make Model Yr Color VIN
Cls/Type
° Vie vlA
MTC VIOLATION PT ORDINANCE | VIOLATION
1204 Parked Vehicle on Where Prohibited by Signs or Markings 0 513 Curfew (10-6-20)
4205 Parked Vehicle on Wrong Side of Road 0 514 Public Park Hours (11-5-120)
1208 Parked in Handicap Designated Parking Without Authorization 0 -2-10 Debris Prohibited/Accumulation to Constitute a Nuisance
1503 Motorized Vehicles Restricted 0 SC | 7-5-30 Duty to Cut Weeds on Property
237/236 Safety Belt Required Adult(237) Child(236) 0 7-7-20¢ Animals Running atLarge
Speeding (5-9 mph over posted limit)_ = ina__—s mph
1101 Zone 1 7-7-70 Licensing of Dogs and Cats |
1211(1}(a) | Unsafe Backing in Parking Area 1 7-7-80 Aggressive Animals
1211(1}(b) | Backed Vehicle on Shoulder or Roadway 2 7-7-90 Vicious Animals =
202(1) Drove a Defective or Unsafe Vehicle 2. 8-5-10 ( ) Parking & Storage Restrictions/Recreational Equipment.
204 Failed to Display Lighted Lamps When Required 2. 10-4-10 Criminal Mischief
608(1) Failed to Use Turn Signal(s) 2 10-4-50 Defacing Public/Private Property
902(3) Made U-turn Where Prohibited 3 10-4-110 Theft
1007(1a) Failed to Drive in a Single Lane (Weaving) 3. 10-4-120 Shoplifting
603 Failed to Observe/Disregarded Traffic Control Signal or Device 4 10-5-30 Interference With an Educational Institution
1008{1) Following too Closely 4 10-5-40/ ) Harassment _ |
Speeding (10-19 mph over posted limit)___—_sina mph
1101 Zone. : 4 10-5-80 Assault
1402 Careless Driving 4 10-5-140 Throwing Stones, Missiles, Etc.
1409 Insurance Failed to Present Uninsured 4 10-7-30 Possession/Consumption of Alcohol by Underage Person
Speeding (20-39 mph over posted limit)____ina
1101 mph Zone 6 10-7-80 Possession of Drug Paraphernalia
1401 Reckless Driving 8 10-7-100 Possession of Cannabis by an Underage Person
4 L

SUMMONS - Mandatory Court Appearance
Without admitting guilt, | promise to appear at the time and place indicated
below. (If you are under the age of 18 at the time of the court date listed below,

PENALTY ASSESSMENT - Payable by Mail
is box is checked, payment of your fine by mail without a cou

appearance is permitted. (See back of summons for instructions). If your , ” ea’
payment is received by mail or in person by 5:00 pm. on the Musiness day you must be accompanied by a parent or legal guardian when appearing in
before your court date, you do not have to appear in Coux’and the court.)

associated alty points will be reduced as shown opthe back of this

Defendant Signature

ent is not received you must appear on the court

summons. If pa

date indi : out admitting guilt, | agrees46 comply with the COURT DATE
inst ratcated ia id ; a 1 ag P ‘ t You are summoned and ordered to appear to answer charges stated above in:
instructions on the re e side of this summons or penalty assessment. Bennett Municipal Court, 207 Muegge Way, Bennett, CO 80102
x on @ 1 AY 12002 at GOO cam een”

x Warning: If you fail to appear in response to this summons as ordered, a warrant will
Defendant Signature be issued for your arrest.

The undersigned has probable cause to believe that the defendant committed the offense(s)
against the peace and dignity of the Town of Bennett, State of Colorado and affirms that a
copy of this summons and complaint or Penalty Assessment was served upon the
defendant:

Date Issued: ¥/e/23- Officer Name: K Ryas/O

i ¢
Signature aS Badge# CSO OY

ee

x
Total Fine Amount: $f

Total Points
If over four (4) =

ummons-Mandatory Appearance

verse side for point reduction provisions.

COURT

Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23 USDC Colorado pg 2 of13

©

town of

Bennett

; Community
Development
Code Enforcement

Code Ordinance Warning

Date 71B- G2 Address 1 7O eooliclas et

Resident eridé LOS +44 Phone

Recheck 7 1 24 AX warning a" ey)

Email

Observed WeebdS gn the cocks are tpeetrr Hiyr Ke a Oificer Cimmemnar

It has been brought to the attention of the town, by observation of an officer or through a complaint from a citizen, that the property
described above may violate the ordinance indicated. Please take necessary measures to correct the situation(s) to avoid future contacts
which may result in the issuance of a summons. We appreciate your assistance and cooperation in resolving any possible conflict with
Town ordinances. Please visit town hall at 207 Muegge Way or our website at

hitps://library. municode.com/co/bennett/codes/municipal_code to view the complete ordinance that is referenced in this notice.

Any lot in the Town that has damaged merchandise, litter,
garbage, inoperable or wrecked vehicles or junk upon
private or public property shall be deemed a nuisance and
in violation. Sec. 7-2-10 Accumulation to constitute
nuisances.

All fences taller than thirty-six inches (36”) require a fence permit. Front
yard fences shall be split rail, picket or chain link in the RMU or Brothers
Four Subdivision. Side and back yard fences may be solid. Fences not
maintained in a safe manner, lean or sag more than 15 degrees,
missing or protruding pickets, extending into a walkway or creating a
hazard for either pedestrian or vehicle are considered a nuisance. Sec.
16-2-790 Fences and Walls

No person shall deposit or place refuse in a manner to
become a nuisance or endangers the public health. Any
person having occupancy, control or management of any
new premises shall not permit accumulation of refuse that
is becomes a nuisance or endangers public health. Trash
cans are not allowed in front yards except on pickup day.
Sec. 7-3-10 Accumulation prohibited.

Any owner or occupant of a property adjacent to public right-of-way
shall remove any trees or limbs located in or above the public right-of-
way when they constitute a danger to public safety. This includes limbs
that hinder visibility or may affect public health and safety, or present a
structural defect which may cause the limb to fall on a person or
property of value. Trees deemed dead, broken, diseased or infested by
insects that endanger the wellbeing of other trees are declared a
nuisance. Secs 7-6-10, 7-6-20 & 7-6-30 Trees

It's the responsibility of every owner or occupant of their
property including buildings and premises to maintain at
all times in a _ clean, orderly condition with no
accumulation of refuse or materials other than ordinary
items. Sec. 7-3-30 Responsibility of owners.

It is the responsibility of any owner or occupant of any lot
in town to allow any uncut weeds or brush to grow more
than six (6) inches high. Sec. 7-5-30 Duty of property
owner to cut.

It is unlawful to park, keep or store any truck, semi-tractor, semi-trailer,
tow truck, bus, or construction equipment weighing more than 10,000
pounds’ empty weight on any public street, highway, alley, right-of-way
or any private property within town in any residential zone or mobile
home district except if rendering delivery or pickup for less than one
hour. Overweight permits may be obtained from the building
department authorizing parking of overweight vehicles (Please see
building dept. for further). Sees 8-5-20, 8-5-25, 8-5-27 Weight limits

Any motor vehicle left in one location on any public
property or private property without permission, for
seventy-two (72) hours is considered abandoned and a
public nuisance. Sec. 8-3-20(a) Abandoned and
inoperable vehicle

Any inoperable motor vehicle parked or stored on any
private property longer than thirty (30) days is considered
a public nuisance. Sec. 8-3-30(a) Inoperable vehicle on
private property

It is unlawful to park or permit to stand any motor vehicle, whether
operable or inoperable, or recreational equipment on a portion of
residential property that is within public view, unless the motor vehicle
or recreational equipment is parked or standing on a hardened surface.
Such hardened surface shall be maintained at a minimum depth of two
(2) inches. No motor vehicle or recreational equipment shall access a
hardened surface public street or alley unless it does so from a
hardened surface. Sec. 8-5-10 Parking, storage and use

lt is unlawful for any person who abandons, leaves
outside of any building or other structures any piece of
furniture or appliance that has a door or lid, accessible to
children, without first removing said door or lid.

Sec. 10-5-130 Abandoned containers and appliances.

Accessory structures shall not be located within any setback, front yard
or shall not be taller than 12 feet high or exceed 250 feet in size and
must resemble the principal structure. Cargo containers are only
allowed in Industrial or Commercial zoned districts. A permit must be
obtained for all accessory structures and cargo containers. Secs 16-2-
465 Lot & building requirements.

It's the responsibility of every owner or occupant in control
of any premises to maintain the sidewalks adjoining their
property. After the snow, sleet or freezing rain has
stopped, the owner, occupant shall remove & clear away
snow and ice twenty-four (24) hours or the next business
day (whichever period is shorter). Sec. 11-1-20(a) Snow
& ice removal from sidewalks.

No structure or mobile home shall be moved or constructed within the
Town without first securing a building permit from the Building
Department. Accessory structures exceeding 120 square feet floor
area are required to have a building permit

Secs 18-10-20, 18-10-40. 18-83-20

Comments/Other Violation:

Town of Bennett ¢ 207 Muegge Way « Bennett CO 80102 © 303-644-3249 ext. 1015 / www.townofbennett.org

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town of

Bennett

Community
Development

| Code Enforcement

Code Ordinance Warning

ge

Date T:29-32 Address | 7O Cat idl

Resident Eri. WO) t+ Phone

ge ck

Recheck & LS 1A Warning na")

Email

Observed UO 2 el S tyr Aock anca ode breater tox Officer 2 mmernan

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Comments/Other Violation:

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Town of Bennett * 207 Muegge Way ¢ Bennett CO 80102 * 303-644-3249 ext. 1015 / www.townofbennett.org

Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23 USDC Colorado pg 4of13

Neighborhood Services 2
Code Enforcement/Animal Contre -
Incident Report Benn se

Case# CE22-0035 Date/Time Reported: 8/5/22 1:00p Date/Time of Incident: 7/18/22 1:40p

Location of Incident: 170 Coolidge Court County: Adams

Summons#: B6902 Charges: 7-5-30: Duty to Cut Court date: 8/24/22
(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)

W | Name: Sonya Zimmerman, CSO Phone: 303-644-3249 Ext. 1047

Address: 207 Muegge Way City/State/Zip: Bennett, CO 80102

d.o.b: Hair: Eyes: Height: Weight: Race:

TO | Name: Keith Buono, LCSO Phone: 303-644-3249 Ext. 1046

Address: 207 Muegge Way City/State/Zip: Bennett, CO 80102

d.o.b: Hair: Eyes: Height: Weight: Race:

S| Name: Eric Witt Phone:720-560-8282

Address: 170 Coolidge Court City/State/Zip: Bennett, CO 80102

d.o.b: Hair: Eyes: Height: Weight: Race:

Statement: August 8", 2022 | was assigned as a Community Services Officer for the Town of Bennett. At approximately
11:30am | attempted to serve Mr. Eric Witt, of 170 Coolidge Court, a summons to attend court proceedings due to
continuing to violate Bennett Municipal Code Section 7-5-30: Duty of Property Owner to Cut, but to no avail. | had
attempted to serve Mr. Witt August 7", 2022 at approximately 4:45p with no one answering the door on this date
either. The summons was sent via the US Postal Service, return receipt requested due to being unable to directly
contact him.

Mr. Witt had received two Code Ordinance Warnings July 18", 2022 and July 29", 2022, for this code violation. Each
time he was provided ample time to comply with the request of cutting his grass. Upon a recheck of his property
August 8", 2022 it was discovered that he still was not in compliance with Section 7-5-30, which requires grass and
weeds to be no taller than six inches.

This incident referred to Mr. Bunger for review and disposition.

Officer Signature: Keith Buono, LCSO Date: 8/8/22

Ph off 22

ca PAGE 1

Town of Bennett - 207 Muegge Way: Bennett, CO 80102 - 303-644-3249 - townofbennett.colorado.gov
Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23 USDC Colorado pg5of13

ah ToS ee. wk.

Photos tallen S/9/72-

Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23 USDC Colorado pg 6 of13

Witness Statement ai
welcome neighbors.

Case #: Date/Time Reported: Date/Time of Incident:

Location of Incident: 1/0 Coolidge Ct Bennett, Co. 80102

Type of Incident:

(W - Witness, S — Suspect, V - Victim, RP - Reporting Party, T/O — This Officer)

T/O__ Name; Sonya Zimmerman Phone: 9036443249

Address: 207 Muegge Way City/State/Zip; Bennett, Co. 80102

Date of Birth: Hair: Eyes: Height:_ Ss Weight: Race:

Statement:

While patrolling on July 18, 2022 | observed the weeds at 170 Coolidge Ct were

greater than 6 inches. | sent the property owner Eric Witt a Code Ordinance warning
letter.

While patrolling on July 29, 2022 | again observed the weeds at 170 Coolidge Ct had
not been cut done. | taped Code Ordinance warning letter to the front door.

3

Witness Signature: aOR (Flt —— Date: S - FAD

Town of Bennett - 207 Muegge Way « Bennett, CO 80102 « p. 303-644-3249 - townofbennett.colorado.gov
Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23.,.USDC Golorado pg 7 of 13

Nel tf Summons

UNITED STATES
Boa POSTAL SERVICE.

BENNETT
205 S ASH ST
BENNETT, CO 80102-9997
(800) 275-8777

08/09/2022 07:32 AM

Product Qty Unit Price
Price

Priority Mail® 1 $8.95

Window FR Env
Bennett, CO 80162
Flat Rate
Expected Delivery Date
Wed 08/10/2022

Certified Mail@ $4.00
Tracking #:
70182290000023595722
Return Receipt $3.25
Tracking #:
9590 9402 7492 2055 0360 38
Total $16.20
Grand Total: OO $16.20
Credit Card Remit $16.20

Card Name: MasterCard

Account #: XXXXXXXXXXXK2948
Approval #: 076293

Transaction #: 373

AIB: AG000000041010 Chip
AL: MASTERCARD

PIN: Not Required

KIKI KKK KR KKK RR K KAR KK KK ROR KK KK RK KKK RK KKK KK
Every household in the U.S. is now
eligible to receive a third set
of 8 free test kits.

Go to www.covidtests. gov
KEKE KKKRER KK RE KE RAEKK EK KIRK KR RE KEK KEK KKK

Text your tracking number to 28777 (2USPS)
to get the latest status. Standard Message
and Data rates may apply. You may also
visit www.usps.com USPS Tracking or call
1-800-222-1811.

Save this receipt as evidence of
insurance. For information on filing an
insurance claim go to
https: //www.usps.com/help/claims.htm
or cal) 1-800-222-1811

Preview your Mai]
Track your Packages
Sign up for FREE @
https: //informeddel ivery.usps.com

All sales final on stamps and postage.
Refunds for guaranteed services only.
Thank you for your business.

Tell us about your experjence.

Go to: https://postal experience.com/Pos
or scan this code with your mobile device,

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Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23 USDC Colorado pg 8of13

BENNETT MUNICIPAL COURT
summons #_CERA-~COXVOG — Bi 9 q DA

The People of the State of ) Waiver of Rights
Colorado and ) and plea of
County of Adams ) (Guilty)
Town of Bennett ) (Not Guilty)

VS )
_LASitr Eric

Defendant )

Comes now the above defendant and is advised of the following rights pursuant to the above cited case:

| have knowledge of the following Rights:

1. To remain silent.

2. To have any statement made by me used against me at a later date.

3. {am presumed innocent.

4. [have a right to plead not guilty and have a trial to the Court.

5 | may put the Town to the burden of proving me guilty as to each charge and each element of that charge beyond a reasonable
doubt.
| have the right to engage counsel.

6.

7. To request a reasonable continuance.

8. To have Subpoenas issued by the court without expense, except cost of service, to compel attendance of witnesses.
9

t have the right to testify on my own behalf or remain silent, at my own sole discretion.

10. 1} have the right to call witnesses on my own behalf.
! have the right to appeal according to rule 237 of the Colorado Municipal Court Rules of Procedure.

Any plea entered by me must be voluntary and not the result of undue influence or coercion on the part of anyone.

| further understand the possible maximum penalty is Two Thousand Six Hundred Fifty and no/100s ($2650.00), that if this is a traffic offense,
that penalty points may assessed against my driving privilege, and that if | plead not guilty, my case will be heard at trial within 90 days of

today’s date. of i) understanding of the rights | have, and possible penalties, 1 do plead as follows

cd 4M

REQUEST to speak to Town Prosecutor. If trial is necessary, it is to be scheduled

within 90 days of the date of my plea.

Initial
[] NOT GUILTY and request trial.
Initial
GUILTY | enter the guilty plea freely and voluntarily, and with full knowledge
Initial of my waiver of the above stated rights and of the possible penalties.

x .
Defendant Lh [LE Date ~ -L 2 AD.

If the defendant is under the age of eighteen (18) a parent or guardian must sign this plea.

Date

Parent or Guardian
Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23 USDC Colorado pg 9 of13

Bennett Municipal Court Minute Order

(ve. (de, Evia

CASE #.CE22 -COO 7

DATE: OJ 4-7? BA

—
PROSECUTOR

Pre-Trial Conference Heid with Prosecutor Joe Lico:
Defendant enters following plea with additional recommendations:

Points Fine
Count 1: Yet oy 30 Aa (
Amend to: — Ope ek — Ys Umod fou
Count 2:
Amend to:
Additional Recommendations:
Stipulations:
JUDGE
QO ACCEPT Prosecutor's recommendation and Defendant Plea
oO REJECT Prosecutor's recommendation and Defendant Plea COURT COSTS (circle)
Oo ACCEPT Defendant Plea (No Prosecutor Requested) Jury Trial ($25/$75)
Points Fine
Additional Order: cc | $35.00
Count 1: - SOE | $25.00
OJW | $30.00
Additional BW | 575.00
Points Fine CS | $25.00
Default | $30.00
Count 2: Deferred | $75.00
FTA | $25.00
Se FIP | $25.00
Additional Conditions: Coa CLA#Le TF 0 21 ET
De fa Det FZ, Age Cte
oat
<——' N wi Total Due $
oy =
COURT CLERK
TTL
DATE FINES | CCS SOE FEES | FEES | DUE PAYMENT | BALANCE | INITIALS/NOTES

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BENNETT MUNICIPAL COURT

PAYMENT AGREEMENT & SENTENCE CONDITIONS

Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
303-644-3249 x1001

Bl WA

DEFENDANT NAME: _(/ ft. Eric CASE # -000
Description Amount Due Note
Fine Amount $
Court Cost $35 70 NAY (DIT: P2V un 2 uw pyc
Stay of Execution $25 “Dm yO) (9 CL =
Deferred Judgment Fee $50 " Months Review On: 4! OK SI
Community Service $25 Hours Completed By:
Default Judgment Fee $30
Bench Warrant $75
Other
Pay Today: and/or
TOTAL DUE $ Payment Arrangement: $ due by the
day of each month beginning until paid
in full.
ADDITIONAL CONDITIONS
Class DAlcohol /Drug .
O Theft Day/Hours Completed By:
| x Month
Drug Testing/UA For Completed By:
months _
No Further Violations Through

| agree to pay the total amount due on or before the due date above. | understand additional penalties noted above will be
enforced due to non-compliance with payment agreement or sentencing conditions.

Date:

Defendant

Parent of Minor

All Payments should be mailed to: Town of Bennett Municipal Court

207 Muegge Way
Bennett, CO 80102

or can be made online with a credit card at www.TownofBennett.org. Please note there is a

transaction fee for all credit card payments.

COURT CLERK

DATE FINES ccs SOE FEES FEES

TTL DUE

PAYMENT

BALANCE |INITIALS/NOTES

Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23 USDC Colorado pg 11 of 13

z= town of BENNETT MUNICIPAL COURT
Ben nett 207 Muegge Way
appt aE Bennett, Colorado 80102-7806

303-644-3249 Ext. 1001

August 25, 2022

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Mr. Witt,

You appeared before the Bennett Court on August 24, 2022 for violating BMC 7-5-30 Duty to Cut
Weeds on Property.

The hearing has been continued until September 28, 2022 at 6:00 p.m. with a review of compliance.

If you have any questions, please do not hesitate to contact me.

Re spectfully, f +t

Christina Hart
Bennett Municipal Court Clerk
Town of Bennett

Case No. 1:23-cv-01550-SBP Document 13-16 filed 07/17/23 USDC Colorado pg 12 of 13

PRIORITY®
MAIL

107
V
2
3

For intemational shipmente, the maximum weight is 4 Ib

I

Hil

7018 2290 OOOO 23549 S5?eec

~R-T-s-

Mr. Eric Witt
170 Coolidge Court

Bennett, Colorado 80102
09/20/22

801023042-1N

RETURN TO SENDER

UNCLAIMED

UNABLE TO FORWARD
RETURN TO SENDER

POSTAL 82 SERVICES

2 Iilll §

80102

/
SK

16.20

R23904W121051-98

Die kbs

EP14H August 2020 Outer Dimension: 10 x 5
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: | ; PS Form 381 1,-July 2020 PSN 7530-02-000-9053 Domestic Return Receipt ;

